Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 1 of 14



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  HELEN SWARTZ, Individually,                              :
                                                           :
                 Plaintiff,                                :
  vs.                                                      :
                                                           :   Case No.
  SETAI HOTEL ACQUISITION, LLC,                            :
  a Delaware Limited Liability Company,                    :
                                                           :
              Defendant.                                   :
  _________________________________________/


                                           COMPLAINT
                                    (Injunctive Relief Demanded)

         Plaintiff, HELEN SWARTZ, Individually, on her behalf and on behalf of all other

  mobility impaired individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby

  sues the Defendant, SETAI HOTEL ACQUISITION, LLC, a Delaware Limited Liability

  Company (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

  litigation expenses, and costs pursuant to Title III of the Americans with Disabilities Act, 42

  U.S.C. § 12181 et seq. (“ADA”).

                                              COUNT I

         1.      Plaintiff, Helen Swartz, is an individual residing in Miami Beach, FL, in the

  County of Miami-Dade.

         2.      Defendant’s property, The Setai Hotel, is located at 2001 Collins Avenue, Miami

  Beach, FL, in the County of Miami-Dade.

         3.      Venue is properly located in the Southern District of Florida because venue lies in

  the judicial district of the property situs.    The Defendant’s property is located in and the

  Defendant does business within this judicial district.

                                                   1
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 2 of 14



         4.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and §

  2202. The Court has supplemental jurisdiction over the State Law Claims, pursuant to 28

  U.S.C. 1367.

         5.      Plaintiff Helen Swartz is a Florida resident, is sui juris, and qualifies as an

  individual with disabilities as defined by the ADA.         Helen Swartz suffers from multiple

  sclerosis. She was diagnosed twenty years ago and as a result of losing her ability to ambulate,

  she uses a mobility scooter. Family and friends often visit her in the Miami area and she enjoys

  visiting with them at the various hotels in which they stay. Ms. Swartz sometimes stays in hotels

  with them to eliminate the need to return home late, as fatigue is a significant component of the

  disease. She and her husband also enjoy celebrating special events such as birthdays and

  anniversaries by enjoying hotel restaurants and spending the night to use spa amenities. Ms.

  Swartz’s granddaughter enjoys using the hotel pools when visiting Miami and Ms. Swartz enjoys

  treating her granddaughter to overnight stays in hotels in Miami.

         6.      Helen Swartz visited the property which forms the basis of this lawsuit from July

  11 through July 12, 2020. She enjoys the Setai because it is conveniently located near shopping

  at Lincoln Road and Bal Harbour Shops. Ms. Swartz attempted to make reservations to return

  to the property from April 11 through April 12, 2021, but was informed that a deposit of $969.00

  was necessary to hold a room. Due to the high cost of reserving a room, she will reserve at a

  later time in the hope that the room rate is not as high. She invited her youngest daughter to join

  her at the Setai to celebrate her birthday on April 11 and April 12, 2021, and intends to keep that

  commitment, but is waiting until a later date to reserve a room in the hopes that the room rate

                                                  2
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 3 of 14



  will be less expensive. Ms. Swartz also wishes to return to the hotel to avail herself of the goods

  and services available at the property, and to assure herself that this property is in compliance

  with the ADA so that she and others similarly situated will have full and equal enjoyment of the

  property without fear of discrimination.

         7.      Defendant owns, leases, leases to, or operates a place of public accommodation as

  defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

  Defendant is responsible for complying with the obligations of the ADA. The place of public

  accommodation that the Defendant owns, operates, leases or leases to is known as The Setai

  Hotel, and is located at 2001 Collins Avenue, Miami Beach, FL.

         8.      Helen Swartz has a realistic, credible, existing and continuing threat of

  discrimination from the Defendant’s non-compliance with the ADA with respect to this property

  as described but not necessarily limited to the allegations in paragraph 12 of this Complaint.

  Plaintiff has reasonable grounds to believe that she will continue to be subjected to

  discrimination in violation of the ADA by the Defendant. Helen Swartz desires to visit The

  Setai Hotel, not only to avail herself of the goods and services available at the property, but to

  assure herself that this property is in compliance with the ADA so that she and others similarly

  situated will have full and equal enjoyment of the property without fear of discrimination.

         9.      The Defendant has discriminated against the individual Plaintiff by denying her

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

         10.     The Defendant has discriminated, and is continuing to discriminate, against the

  Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

  1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of


                                                    3
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 4 of 14



  $500,000 or less). A preliminary inspection of The Setai Hotel has shown that violations exist.

  These violations that Helen Swartz has personally encountered or observed, and which were

  verified by an ADA expert, include, but are not limited to:


                a.      In guestroom #501, which hotel deemed an accessible guestroom, the
         flush control is behind the water closet in the accessible guest bathroom. This is in
         violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR
         §36.304. This condition made it difficult for the plaintiff to access the water closet.


                b.      In guestroom #501, which hotel deemed an accessible guestroom, the
         projecting object is too close to the rear grab bar by the water closet in the accessible
         guest bathroom. This is in violation of section 806.2.4 of the 2010 Standards for
         Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
         access the water closet.

                c.        In guestroom #501, which hotel deemed an accessible guestroom, the
         grab bars by the water closet are improperly mounted in the accessible guest bathroom.
         This is in violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28
         CFR §36.304. This condition made it difficult for the plaintiff to access the water closet.

               d.       In guestroom #501, which hotel deemed an accessible guestroom, a
         Standard Roll-In Type Shower Compartment is not provided in the accessible guest
         bathroom. This is in violation of section 806.2.4 of the 2010 Standards for Accessible
         Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
         shower.

                e.       In guestroom #501, which hotel deemed an accessible guestroom, a
         fixed seat is not provided in the accessible guestroom shower compartment. This is in
         violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR
         §36.304. This condition made it difficult for the plaintiff to access the shower.


               f.         In guestroom #501, which hotel deemed an accessible guestroom, the
         shower spray unit in the roll-in shower does not have an on/off control with a
         non-positive shut-off. This is in violation of section 806.2.4 of the 2010 Standards for
         Accessible Design: 28 CFR §36.304. This condition made it difficult the plaintiff to
         access the facility.




                                                  4
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 5 of 14



               g.        In the accessible guestroom bathroom of #501, which hotel deemed an
        accessible guestroom, the hook is out of reach to a person in a wheelchair. This is in
        violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR
        §36.304. This condition made it difficult the plaintiff to access the facility.

              h.         In guestroom #501, which hotel deemed an accessible guestroom, a
        turning space is not provided to access the HVAC. This is in violation of sections 304,
        806.2.1 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition
        made it difficult for the plaintiff to access the facility.


               i.       In guestroom #501, which hotel deemed an accessible guestroom, the
        closet rod and shelf are out of reach to a person in a wheelchair. This is in violation of
        section 811.3 of the 2010 Standards for Accessible Design: 28 CFR §36.304. This
        condition made it difficult the plaintiff to access the facility.

                j.   In the accessible guestroom #501, which hotel deemed an accessible
        guestroom, the light fixtures above the bed are out of reach to a person in a
        wheelchair. This is in violation of section 308 of the 2010 Standards for Accessible
        Design: 28 CFR §36.304. This condition made it difficult the plaintiff to access the
        facility.

                k.    In the accessible guestroom #501, which hotel deemed an accessible
        guestroom, the light fixtures require tight grasping, pinching, or twisting of the wrist to
        operate. This is in violation of section 309.4 of the 2010 Standards for Accessible
        Design: 28 CFR §36.304. This condition made it difficult the plaintiff to access the
        facility.

                l.    In the accessible guestroom #501, which hotel deemed an accessible
        guestroom, the window controls require tight grasping, pinching, or twisting of the wrist
        to operate. This is in violation of section 309.4 of the 2010 Standards for Accessible
        Design: 28 CFR §36.304. This condition made it difficult the plaintiff to access the
        facility.

               m.        In the accessible guestroom #501, which hotel deemed an accessible
        guestroom, access is not provided at the table. This is in violation of section 806.2.1 of
        the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition made it
        difficult the plaintiff to access the facility.

              n.       In guestroom #501, which hotel deemed an accessible guestroom, items



                                                 5
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 6 of 14



        in the guestroom and bathroom are out of reach to a person using a wheelchair. This is
        in violation of sections 308, 806 and 811 of the 2010 Standards for Accessible Design:
        28 CFR §36.304. This condition made it difficult for the Plaintiff to use the facilities.

               o.       Accessible seating is not provided in and around the hotel. This is in
        violation of sections 226 and 902 of the 2010 Standards for Accessible Design. This
        condition made it extremely difficult for the Plaintiff access the assorted bars and tables;
        28 CFR §36.202 & §36.304.

               p.         The lavatory in the Spa is out of reach to a person in a wheelchair. This
        is in violation of section 606.3 of the 2010 Standards for Accessible Design. §36.304.
        This condition made it difficult for the Plaintiff to access the facility and denies the
        plaintiff the full and equal opportunity to use the lavatory in the spa. §36.202.


               q.         A clear floor space is not positioned for a forward approach to access
        the lavatory in the Spa. This is in violation of section 606.2 of the 2010 Standards for
        Accessible Design. §36.304. This condition made it difficult for the Plaintiff to access
        the facility and denies the plaintiff the full and equal opportunity to use the lavatory in
        the spa. §36.202.

               r.        An appropriate transfer type shower compartment is not provided in the
        Spa. This is in violation of sections 608.3.1, 608.4 and 608.5 of the 2010 Standards for
        Accessible Design. §36.304. This condition made it difficult for the Plaintiff to access
        the facility.

               s.         A wheelchair accessible toilet compartment is not provided in the Spa.
        This is in violation of sections 213.3.1 and 604.8.1 of the 2010 Standards for Accessible
        Design. §36.304. This condition made it difficult for the Plaintiff to access the facility.

               t.        The ambulatory accessible water closet in the Spa has inappropriate
        installed grab bars. This is in violation of section 609.4 of the 2010 Standards for
        Accessible Design. §36.304. This condition made it difficult for the Plaintiff to access
        the facility.

               u.         In the ambulatory accessible water closet in the Spa, the flush control is
        mounted behind the water closet. This is in violation of section 604.6 of the 2010
        Standards for Accessible Design. §36.304. This condition made it difficult for the
        Plaintiff to access the facility.

              v.         Items in the Gym are out of reach to a person in a wheelchair. This is


                                                  6
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 7 of 14



        in violation of section 308 of the 2010 Standards for Accessible Design. §36.304. This
        condition made it difficult for the Plaintiff to access items in the gym.


              w.         The pipe underneath the exterior lavatory in the women’s pool toilet
        room is exposed. This is in violation of section 606.5 of the 2010 Standards for
        Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
        access the facilities.

               x.        A clear floor space is not positioned for a forward approach to access
        the exterior lavatory in the in the women’s pool toilet room. This is in violation of
        section 606.2 of the 2010 Standards for Accessible Design. §36.304. This condition
        made it difficult for the Plaintiff to access the facility and denies the plaintiff the full and
        equal opportunity to use the lavatory in the women’s pool toilet room. §36.202.

               y.         In the women’s pool toilet room, the exterior lavatory is out of reach to
        a person in a wheelchair. This is in violation of section 606.3 of the 2010 Standards for
        Accessible Design. §36.304. This condition made it difficult for the Plaintiff to access
        the facility and denies the plaintiff the full and equal opportunity to use the lavatory in
        the women’s pool toilet room. §36.202.

               z.          In the women’s pool toilet room, the flush control is behind the water
        closet in the wheelchair accessible toilet compartment. This is in violation of section
        604.6 of the 2010 Standards for Accessible Design. §36.304. This condition made it
        difficult for the Plaintiff to access the facility.


              aa.     The pool shower has a fixed shower head that out of reach to a person in
        a wheelchair. This is in violation of section 608.6 of the 2010 Standards for Accessible
        Design. §36.304. This condition made it difficult for the Plaintiff to access the facility.

               bb.      A guest with a disability is denied the opportunity to access the beach in
        the same way as the hotel’s abled guests. This is in violation of §36.201, §36.202 and
        §36.304. This denied Plaintiff the full and equal opportunity to receive the same service
        as an abled individual.

               cc.       A guest with a disability is denied the opportunity to participate in
        choosing one of the assorted sunbeds that are offered around the pool to the hotel’s
        abled guests. This is in violation of §36.201, §36.202 and §36.304. This denied Plaintiff
        the full and equal opportunity to receive the same service as an abled individual.




                                                   7
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 8 of 14



               dd.         A clear floor space is not positioned for a forward approach to access
        the exterior lavatory in the in the lobby toilet room. This is in violation of section
        606.2 of the 2010 Standards for Accessible Design. §36.304. This condition made it
        difficult for the Plaintiff to access the facility and denies the plaintiff the full and equal
        opportunity to use the lavatory in the women’s pool toilet room. §36.202.

                ee.   The pipe underneath the exterior lavatory in the lobby toilet room is
        exposed. This is in violation of section 606.5 of the 2010 Standards for Accessible
        Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to access the
        facility.

              ff.      In the lobby toilet room, the mirror above the exterior lavatory is too
        high. This is in violation of section 603.3 of the 2010 Standards for Accessible Design:
        28 CFR §36.304. This condition made it difficult for the plaintiff to access the facility.

               gg.       In the lobby toilet room, the flush control is behind the water closet in
        the wheelchair accessible toilet compartment. This is in violation of section 604.6 of the
        2010 Standards for Accessible Design. §36.304. This condition made it difficult for the
        Plaintiff to access the facility.

               hh.     In the lobby toilet room, an ambulatory accessible water closet is not
        provided. This is in violation of sections 213.3.1 and 604.8.2 of the 2010 Standards for
        Accessible Design. §36.304. This condition made it difficult for the Plaintiff to access
        the facility.

              ii.        The elevator button is out of reach to a person in a wheelchair. This is
        in violation of section 407.2.1.1 of the 2010 Standards for Accessible Design. §36.304.
        This condition made it difficult for the Plaintiff to access the 5th floor elevator button.

              jj.      Appropriate designation identifying the permanent room is not provided.
        This is in violation of section 216.2 of the 2010 Standards for Accessible Design.
        §36.304.

               kk.      The hotel does not provide the required amount of compliant accessible
        guest rooms, and the accessible rooms are not dispersed among the various classes of
        accommodations. This is in violation of section 224 of the 2010 Standards for
        Accessible Design: 28 CFR §36.304. This denies to Plaintiff the full and equal
        opportunity to stay at the subject hotel. 28 CFR §36.302(e)(1)

              ll.       The accessible features of the facility are not maintained, creating


                                                   8
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 9 of 14



         barriers to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.


         11.     All of the foregoing violations are also violations of the 1991 Americans with

  Disability Act Accessibility Guidelines, and the 2010 ADA Standards for Accessible Design

  (ADAAG), as promulgated by the U.S. Department of Justice.

         12.     The discriminatory violations described in paragraph 12 are not an exclusive list

  of the Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

  public accommodation in order to photograph and measure all of the discriminatory acts

  violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

  individuals similarly situated, have been denied access to, and have been denied the benefits of

  services, programs and activities of the Defendant’s buildings and its facilities, and have

  otherwise been discriminated against and damaged by the Defendant because of the Defendant’s

  ADA violations, as set forth above. The individual Plaintiff, and all others similarly situated,

  will continue to suffer such discrimination, injury and damage without the immediate relief

  provided by the ADA as requested herein. In order to remedy this discriminatory situation, the

  Plaintiff requires an inspection of the Defendant’s place of public accommodation in order to

  determine all of the areas of non-compliance with the Americans with Disabilities Act.

         13.     Defendant has discriminated against the individual by denying her access to full

  and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

  discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to




                                                   9
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 10 of 14



  afford all offered goods, services, facilities, privileges, advantages or accommodations to

  individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

  that no individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

         14.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

  Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

  warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

  Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

  litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

         15.     Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for its place of public

  accommodation that have existed prior to January 26, 1993, 28 CFR 36.304(a); in the alternative,

  if there has been an alteration to Defendant’s place of public accommodation since January 26,

  1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered

  portions of the facility are readily accessible to and useable by individuals with disabilities,

  including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s

  facility is one which was designed and constructed for first occupancy subsequent to January 26,

  1993, as defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to

  and useable by individuals with disabilities as defined by the ADA.

         16.     Notice to Defendant is not required as a result of the Defendant’s failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by

  Plaintiff or waived by the Defendant.


                                                  10
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 11 of 14



         17.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to require the Defendant to alter The Setai Hotel to

  make those facilities readily accessible to and useable by the Plaintiff and all other persons with

  disabilities as defined by the ADA; or by closing the facility until such time as the Defendant

  cures its violations of the ADA. The Order shall further require the Defendant to maintain the

  required assessable features on an ongoing basis, and to require the institution of a policy that

  requires Defendant to maintain its accessible features.

         18.     Prior to the filing of this lawsuit, Plaintiff’s counsel conducted a thorough PACER

  search to determine whether prior ADA cases had been filed in the Southern District of Florida

  against the instant property. Three unrelated ADA lawsuits had been filed, as follows:

                 a.      Howard Cohan v. Setai Owners, LLC d/b/a The Setai Hotel, Case

         1:14-cv-21823-KMM, in which the only violations listed are elements relating to the

         hotel’s pool and the pool restroom.

                 b.      David    Poschmann       v.    Setai   Hotel    Acquisition,    LLC,    Case

         2:18-cv-14435-JEM, which is a lawsuit solely for violations relating to an inaccessible

         website and reservations system.

                 c.      Juan Carlos Gil v. Setai Hotel Acquisition LLC d/b/a The Setai Miami

         Beach and www.thesetaihotel.com, Case 1:17-cv-23452-MGC, which makes allegations

         as to Defendant’s “failure to provide auxiliary aids and services for effective

         communications, by maintaining an inaccessible website and reservation system.

                 The three unrelated cases concern barriers to access not related to the case at bar.


         WHEREFORE, Plaintiff respectfully requests:




                                                   11
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 12 of 14



                 a.      The Court issue a Declaratory Judgment that determines that the

         Defendant at the commencement of the subject lawsuit is in violation of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

                 b.      Injunctive relief against the Defendant including an order to make all

         readily achievable alterations to the facility; or to make such facility readily accessible to

         and usable by individuals with disabilities to the extent required by the ADA; and to

         require the Defendant to make reasonable modifications in policies, practices or

         procedures, when such modifications are necessary to afford all offered goods, services,

         facilities, privileges, advantages or accommodations to individuals with disabilities; and

         by failing to take such steps that may be necessary to ensure that no individual with a

         disability is excluded, denied services, segregated or otherwise treated differently than

         other individuals.

                 c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42

         U.S.C. § 12205.

                 d.      Such other relief as the Court deems just and proper, and/or is allowable

         under Title III of the Americans with Disabilities Act.

                                                   COUNT II

                                                   Negligence

         19.     Plaintiff realleges all allegations heretofore set forth.

         20.     Defendant, through its activities and past ventures and experience, knew or

  reasonably should have known its duties to the impaired.        Defendant had a duty to Plaintiff to

  remove ADA accessibility barriers, and adopt policies and procedures, as mandated by the ADA,

  so that Plaintiff, as a disabled individual would have full and equal access to the subject public


                                                    12
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 13 of 14



  accommodation.

         21.     Defendant breached this duty.

         22.     Defendant is or should be aware that, historically, society has tended to isolate

  and segregate individuals with disabilities, and, despite some improvements, such forms of

  discrimination against individuals with disabilities continue to be a serious and pervasive social

  problem.

         23.     Discrimination against individuals with disabilities persists in the use and

  enjoyment of public accommodations.

         24.     The Nation’s proper goals regarding individuals with disabilities are to assure

  equality of opportunity, full participation, independent living, and economic self-sufficiency for

  such individuals.

         25.     The ADA has been the law of the land since 1991, but Defendant has negligently

  denied Plaintiff her civil rights by maintaining architectural barriers that preclude the Plaintiff

  from the full and equal use of the subject premises, and that endangered and continues to

  endanger Plaintiff’s safety. This negligent conduct of the Defendant has also caused Plaintiff

  damage by virtue of segregation, discrimination, relegation to second class citizen status and the

  pain, suffering and emotional damages inherent to discrimination and segregation and other

  damages to be proven at trial.


         WHEREFORE, Plaintiff prays for relief, as follows:

         A.      For finding of negligence; and

         B.     For damages in an amount to be proven at trial; and

         C.      For such other and further relief as the Court may deem just and proper.



                                                  13
Case 1:20-cv-23004-CMA Document 1 Entered on FLSD Docket 07/21/2020 Page 14 of 14




  Dated: July 21, 2020                      Respectfully submitted,

                                            /s/ Lawrence A. Fuller
                                            Lawrence A. Fuller, Esq. (FBN 0180470)
                                            FULLER, FULLER & ASSOCIATES, P.A.
                                            12000 Biscayne Blvd., Suite 502
                                            Miami Beach, FL 33181
                                            (305) 891-5199
                                            (305) 893-9505 - Facsimile
                                            lfuller@fullerfuller.com

                                            Attorney for Plaintiff Helen Swartz




                                       14
